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                    ~l~T'''~E ~IR~U~T C~33~.1I2'T ~C~;R BAL'T'~~ICITCE ~~T"~



ALE~AIVDR.~. M. GLAN~Y
1.4Q 1 Ca]i~ornia street
fan ~ranc~isc~, C.A. 941 Q8~

               Plair~tif~,

v.

.T. W.T~t~~1PS(aN ~V~;BB,                        ~a~e~ No.
 as Perso~~ Representative ofthe
 Estate off'TT~(~MA.S L. ~LAN~Y,J~2.
 and Trustee of the Trusts Under
the List ill and Test~m~nt of
 T.;~J~V.CAS L. ~.,,A~ICY, JR.
 1 ~a Light Street
Baltzmc~~ex 11e1:ar~~nd 21~~~

~c~

,SACK R.Y~.N ENTER:PT~.~~ES,LT J.
 1 D0 L fight Street
 Baltimore, Ma~ylanc~ 2~?~2                     ~(JMPT.~ATNT Ft~~.
                                                DECLARATORY JUI}GMEIv'~'
Serve (fin: Resident Agent
J. Vil. `T~,ampson Webb
Miles ~ ~tockbr~d~e, P.~.
1 ~fl Light Street
Baltirnox~,l~laryland 21?~2

aid

:TA~I~ R.~Y`AN I~~~IITEI~ PAT~.T~NERSHIP
 593Q Sh~ri~tan ~'c~int Raacl
 I~rince Frederick, Maryland 20~~8

Serve (fin: Resident ~1.~~nt
Jerrold A. Thrc~p~
CiordQn Feinblatt, I..L~
233 E. Redwood Street
Bal~in-~ore, Ma~ry~and ?~ ~~~

                                                                                   EXHIBIT
                                                                               N
                                                                               d

                                                                               D
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and

RUBICdN,INC.
100 Light Street
Baltimore, Maryland 21202                       .

Serve On: Resident Agent
J.W.Thompson Webb
Miles &Stockbridge P.C.                         .
100 Light Street
Baltimore, MD 21202,                            .

                Defendants.

- ---~______---~---------------X

                      C~MPLAiNT ~'OR DECLARATQRY'JUDGME1~iT

        Alexandra M. Clancy("Mrs. Clancy"), by her undersigned attorneys, sues J. W.

'Thompson Webb ("N1r. Webb" ox "Personal Representative"), as Personal Representative ofthe

Estate of Thomas L. Clancy, Jr.(the "Estate"},1 and as Trustee ofthe Trusts established under

Torn Clancy's bast Will and Testament,Jack Ryan,Enterprises, Ltd.{"JOEL"),Jack Ryan Limited

Partnership("JRLP"}, and Rubicon, Inc.("Rubicon"}, and states:

                                   NATI;iRE OF P12.00EEDING

         1.     This Complaint seeks to deternune ~Iie ownership ofJack Ryan: the famous

 literary character created by the renowned author Tom Clancy in The Huntfor Red October

 thereinafter "Hunt").

        2.       Mrs. Clancy further seeks a declaration that Rubicon, a corporation wholly-owned

 by the Estate, owns the character Dominic Caruso ~d other copyrightable characters created by

 Tom Clancy in The Teeth ofthe Tiger9 published in 2003, in which he also created "The


' The "Estate" means and refers to the Estate ofTharnas L. CDancy, Jr., Estate No. 101962, ~n the
Orphans' Court for Baltimore City.
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Campus," a "black cps""off-the-books" intelligence agency, and featured innumerous

subsequent works.

       3.      This is the second chapter in Mrs. Clancy's struggles to compel Mr.'VVebb's

adherence to his fiduciary responsibilities as Personal Representative ofthe Estate. In the first

chapter, Mrs. Clancy successfully challenged Mr. Webb's erroneous assertion that a trust

established under her late husband's WiII for her benefit, and which qualified for the estate tax

marital deduction, must pay one-half of all federal and state estate taxes. Mr. Webb's position

was not only contxaxy to the provisions ofTom CIancy's Will, but also would have caused the

Estate to pay millions of additional estate taxes.

       4.      The Orphans' Court for B~itimore City agreed with Mrs. Clancy in an opinion

affumed by the Maryland Court of Appeals. See dandy v. Clancy, 449 Md,577(2Q1f). As a

xesult, Mrs. Clancy's trust was wholly exonerated from the payment of any estate tax, and the

Estate's overall estate ~ burden was reduced by some $4 million dollars.

       So      Nlrs. C~aricy novv asks this Cor~rt for a declaration that wrill ultimately require Mr.

Webb to marshal, secure, and account for a signature asset of the Estate —and Tom Clancy's

most prized possession —the liter~uy character Jacic ~Lyan, and the characters he created in The

Caanpus book series.

       6.      Tom Clancy was the soli creator ofthe Jack Ryan character.

       7.      Tom Clancy made Jack Ryan; arid, in a sense, Jack Ryan made Tom Clancy.

Following the publication ofHunt, Mr. Clancy redeployed Jack Ryan many times. Jack Ryan

belonged to Torn Clancy frorri the date he created the character until his death in 2013. Jack

Ryan now belongs exclusively to Tom Clancy's Estate.

       ~.      Tom Clancy was also the sole creator of Dominic Caruso and the other

                                                  3
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copyrightaiole characters in The Campus book series, including Jack Ryan, Jr. {Jack Ryan's son}.

       9.      Dominic Caruso and The Campus characters belonged to Tom Clancy's wholly-

owned corporation Rubicon,from the date he created the character in 2003 until his death in

2013. Dominic Caruso and the other Campus characters now belong exclusively to Rubicon,

which is 100%-owned by the Estate.

        I0.    Mr. Webb,in dereliction of his fiduciary duties, has failed repeatedly to defend

the Estate's unique interest in Tom Clancy's characters.

        1 1.   Specifically, Mr. Webb,in fihe name of Mr. Clancy's Estate, has:

                      Entered into agreements that have surrendered the Estate's
                      interest in Jack Ryan and The Campus characters to co-
                      l~efendants JRLP and JREL;

                      Failed properly to account for payments received for books
                      published after Mr. Clancy's death from works in which the
                      Jack Ryan character and The Campus characters are
                      featured;

                      Failed to collect revenues due the Estate for such post-
                      death publications.

       I2.     Rather than marshal these extraordinarily valuable assets for the benefit ofthe

Estate, as he was and is duty-bound to do, Mr. Webb has inexplicably favored co-Defendants

JREL and JRLP,to the detriment of t11e Estate, by allowing them to participate in post-death

hook revenues based upon his erroneous and groundless beliefthat JREL,and not Tom Clancy,

was the oumer ofthe Jack Ryan character at the time ofTom Clancy's death, and that JREL and

JRLP are otherwise entitled to participate in post-death book revenues from the sale of The

Campus books.

       13.     Mr. Webb's actions fly in the face ofTom Clancy's consistent and successful

assertion that he, and no one else, awned the rights to the character Jack Ryan, and contradict

                                                4
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Rubicon's exclusive exploitation of all The Campus books,and characters, during Torn Clancy's

lifetime.

        14.    Mrs. Clancy has been impelled to commence this declaratory judgment action by

reason of Mr. Webb's con~ued and repeated failure, in lus administration ofthe Estate, to

protect the Estate's ownership rights in and to the characters created by Tom Clarity, to

terminate the uncertainty and controversy giving rise to this cause.

                                              PARTIES

        15.    Plaintiff, Mrs. Clancy,is the surviving spouse ofTom Clancy, who died on

October 1, 2013.

        16.    Defendant 1VIr. Webb is an atto~nney with Miles &Stockbridge,P.C.("Miles 8z

Stockbridge"), and is the Personal Representati~re of Torn Clancy's Estate and Trustee ofthe

Trusts established under Tom Clancy's Last Will and Testament. Mr. Webb was appointed

Personal Representative on ~c~ober 10,2013.

        17.     Defendant JREL is a Maryland corporation,formed on 1VIay 28, 1985. It has its

principal place of business in Baltimore, Maryland. When Tom Clancy was alive, JREL was

owned 4D% by Tam Clancy,40% by Wanda King(from whom he was divorced in 1999), and

20% by Mr. Clancy's children from his first marriage,lVV~Eichelle E. Bandy, Christine C.

Blocksidge,°I`~iomas L. Clancy III and Kathleen vV. Clancy (collectively, the "Older Children").

Tom Clancy was President.

       18.      Fost-mortem, JREL is owned 40% by the Estate,4p% by Tom Clancy's former

wife, Wanda King,and 20°fo by Ulder Children. Wanda King is Presidents

       19.     Defendant JRLP is a Maryland limited partnership,formed on February 26, 1992.

It has its principal place of business in Prince Frederick, Maryland. It is owned in equal shares

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by the Estate and by panda King, who is also the General Partner.z

        20.     Defendant Rubicon is a Maryland corporation, formed on November 15, 1995.

Prior to his death, Rubicon was wholly-owned by Mr. Clancy. Rubican is now owned 100°/a by

Tam Clancy's Estate.

                                 JURISDICTION AND VENUE

        2I.     This Court has subject matter jurisdiction:

                {a}    There exis#s a genuine controversy between Mrs. Clancy and the

Defendants concerning ownership ofcertain ofthe decedent's literary rights and the Personal

Representative's protection of, and accounting for, the proceeds from the same.

               {b}     Thy Court has jurisdiction to grant declaratory relief determining "any

question ofconstruction ~r validity arising under [~ny~ instrument ... [ar] contract" at issue in

this proceeding and to grant"a declaration ofrights, status, or other legal relations under it." MD.

CoD~ Arriv., CTs.&Jun.PRoc.§ 3-406.

                tc)    This Court also hasjurisdiction to grant declaratory relief determining

"any question arising in the administration of ~~J esfiate or trust, including questions of

construction t~f wills and other writings" and directing "the personal representative ... or trustees

to do or abstain ~rorr~ doing any partieulax act in their fiduciary capacity." I~ID. CODE AN~t., CTs.

& Jun.PROC. § 3-4U8.

               {d}     The matter in controversy exceeds the value of$75,040, exclusive of

interest and costs.




Z Wanda King is nod a beneficiary ofthe Estate, but by Mr. Webb's actions in favorang JREL and JR.LP
in post-death book deals, Mr. Webb has essentially made her ore.
                                                  D
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       22.      Venue is proper in Baltimore pity. MD> CODE ANN.,CTs.&Jug.PROC. § 6-

2Q1(b).

       23.      Mrs. Clancy has standing as a "person interested as or through a personal

representative, trustee, guardian or other fiduciary, creditor, devisee, legatee, heir, next of kin, or

benefciary ofa trust, in the administration ofa trust, or ofthe estate of a decedent," to obtain "a

declaration of rights or legal relations in respect to the trust or the estate ofthe decedent." Mn.

CODE ANN.,CTS. c4~ 3UD.PROC. ~ 3-408.

       24.      Mrs. Clancy also has standing to invoke equity jurisdiction to resolve questions

that the Fersonal Representative is unwilling or unable to bring to the~court's attention that

directly affect her substantial interests as the beneficiary oftrusts under Tom Glancy's Willo

       25.      A demand upon Mr. Webb to brir~g suit would be futile because his position is

antagonistic and directly adverse to that of Mrs. Clancy.

                                               FACTS

        A.     Tom Clancy's EsEate.

       2d.     Tom Clancy,the renoumed author and resident of Baltimore City, died on

October I,2013.

       27.      Mrs. Clancy is a legatee and a beneficiary ofcertain testamen~y hosts created

under his Last Will and Testament.

       28.      Mr. Clancy's Last Will and Testament, dated June 11,2007, as amended by a

First Codicil dated September Z8,2007,and a Second Codicil, dated July 25,2013(collectively,

"the Will"), was admitted #o probate on October 10,2413 in the Qrphans' Court for Baltimore

city. The administration of the Estate remains open.



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          29.   Under his Will, Tom Clancy bequeathed his personal and real property to 1V1rs.

Clancy. He directed that the remainder ofthis Estate be held in three parts: a "Marital Trust" for

the benefit of Mrs. Clancy trepresenting one-third ofthe residue adjusted for certain specific

bequests); a "Family Trust" for the benefit of Mrs. Clancy and their minor child (equal to one-

half of the residue remaining after the creation ofthe Marital Trust}; and two "C}lder Children's

Trusts"(consisting ofthe rem~ning one-half ofthe residue after the creation ofthe Marital

Trust}.3

          30.   On February I, 2017,the Personal Representative filed his Revised Second

Administration Account. Mrs. Clancy filed exceptions to tl~ie Account, based in part on Mr.

~Vebb's failure to assert Tom Clancy's ownership ofthe Jack Ryan character. The resolution of

such questions are outside the jurisdiction ofthe Orphans' Court. Moreover,the Orphans' Court

lacks jurisdiction to grant the declaratory relief sought hers.

          31.   On July 26,2017,the Orphans' Court stayed all proceedings in that court and

authorized and directed Mrs. Clancy to file a declaratory judgment action in a court of general

jurisdiction within 34 days. In compliance with the Orphans' Court Order, Mrs. Clancy files this

action.

          B.    Tom Clancy's Ownership of the Jack Ryan Character.

          32.   ()n November 21, 1983, Tom Clancy, as "As.uthor," entered into a contract with

the United States Naval Institute("USNI"), as "Publisher" the "USNY Agreement"),to publish

his first novel,Hunt.



3 As a result ofthe decisic~r~ in Bandy v Clancy,the tJlder Children's interest in the residue ofthe Estate
has been reduced from approximately 37% to 20%,and Mrs. Clancy's share ofthe residue has increased
from approximately 63% to 80%.
                                                     8
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        33.    Hunt featured the debut ofthe naw ~vorld-famous character Jack Ryan, who was

the novel's main character.

        34.     Under t~iie USNI Agreement,Tom Clancy, as "Author,""grant[ed] and assign[ed~

to the Publisher the exclusive worldwide rights and any subsisting copyright, including the right

to secure copyright and any renewals or extensions thereof," in connection urith Hunt.

        35.     Under the USNI Agreement,Tom Clancy, as "Author," also agreed "that be will

not, without the written permission ofthe Publisher, publish +~r permit to be published any

material based on,or derived from, or directly or competitive with jHunt],so long as this

agreement shall remain in farce."

        36.    There were no other parties to the LTSNI Agreement. Neither JREL nar JRI,P had

been farmed when Tom Clancy executed the USNI Agreement.

        37.    The USNI Agreement did not specifically reference the Jack Ryan ch;~racter.

        38.    Hunt was first published on October 3, 1984.

        39.    USN applied for and received a certificate of copyright xegistr~tion for Hunt,

dated October 29,1984,identifying Tom Clancy as the author.

        40.    In late 1987 and early 1988, a dispute arose between Tom Clancy and USNI

concerning ownership ofthe Jack Ryan character.

        41.    In January 1988, counsel for USNI v~rote Tom Clarity's intellectual property

lawyer, Robert Youdelman("Mr. Youdelman"), asserting that USNI had acquired all rights to

Hunt under t1~e USNI Agreement,and that use ofHunt characters by Mr. Clancy in subsequent

works would constitute copyright infringement for which USNI was entitled to compensation4


4 Mr. Youdelman now represents the Estate, Rubicon, JREL, and 3RLP (collectively referred to as the
"Author" in post-death book contracts with Putnam, wh2ch became Tom Clancy's publisher after Hunt).

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       42.     Mr. ~oudelman responded #hit Tom Clancy, not USNI,owned the Jack Ryan

character.

       43.     In February 198$,on behalf ofTom Clancy and another USNI first-time author,

Stephen Coonts(who had a similar dispute with L~SIe1Y over the characters in his first novel,

Flight ofthe Intruder), Mr. Youdelman filed a demand for arbitration with the American

Arbitration Associatitan, as required by their agreements with USNI.

       44.     In the arbitration, Tom Clancy asserted that he alone held the rights to the

character Jack Ryan and demanded a declaration that he owned the exclusive rights to the use of

the ~haxacter Jack Ryan in other novels, sequels and prequels, as well as other relief. Stephen

Coonts asserted similar ctaims.

       45.     In its reply to die arbitration demand,LJSNI contended that it had the rights to the

Jack Ryan character, and counterclaimed for an order barring Tom Clancy frorri using any Hunt

characters in future books without compensating LJSNie

       46.     The Tom Clancy and Stephen Coonts companion cases were settled before the

arbitration was herd. In the settlement, the parties expressly acknowledged that Tom Clancy

owned the rights to the characters in Hung,including Tack Ryan.

       47.     On September 28, 19 8, Tom Clancy end Stephen Coonts entered into a written

settlement agreement with USI~~ {the "USNI Settlement Agreement"),under which USNI

released any rights in post-Hunt works by Tom Clancy, aril agreed to "reassign the cagyright[]

in THE HUI~tT FQR RED OCTt~BER ... to Tam Clancy ... or [his] designees, exclusive of

book publishing rights."

       48.     Addressing the gravamen ofthe dispute —ownership ofthe Jack gZyan character --

the USNI Settlement Agreement provided further: "Without limiting the foregoing, the parties

                                                10
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acknowler~ge Shat all raghts in and t~ the characters are the sole property ofthe respective

authors."(emphasis added}.

       49.     The USNI Settlement Agreement also provided: "The use ofthe characters in

connection with RED OCTOBER is subject to the other terms ofthis agreement."

       50.     Tom Clancy named JREL,then owned 40% by Tom Clancy,4Q% by Wanda

King, and 2d% by the Older Children, as leis "designee" to receive the reassignment ofthe Hunt

copyright.

       51.     Approximately three months after the execution ofthe USNI settlement

Agreement, on December 19; 198,as requu~ed by the USNI Settlement Agreement, USNI

executed a "Transfer of Ownership of Copyright and Assignment," transferring and assigning to

JF,EL "[t]he exclusive rn~orldwide rights of every kind and nature(now or hereafter known),any

subsisting copyright,(including fihe right to secure copyzight and any renevvais or extensions

thereo#~," in Hurt,"in aecardarace with the terms ofthe Agreements between ~4ssignor and

Thomas L. Chancy, Jr. dated 1Vovember 21, 1983 and September 28, 1988."(emphasis added}.

       52.     The assignment made no mention ofthe character Jack Ryan.

       53.     Because the "Transfer of ~wnerslup of Copyright and Assignment" was made "in

accordance wi~i the terms ofthe Agreements between Assignor and Thomas L. Clancy, Jr. dated

November 21, 1983 and September 28, 198," and because the eazlier USNI Settlement

Agreement provided expressly that "a11 rights in and to the ch~ract~rs" ofI-hunt were the sole

property of T'orri Clancy,the USNI grant of"exclusive worldwide righ#s" and "copyright" in

Hunt could not and did not include ownership ofthe Jack Ryan character.

       54.     Accordingly, unless Tom Clancy subsequently assigned his rights to the character

Jack Ryan, he remained the exclusive owner ofthe character Sack Ryan until his death on

                                                I1
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 October 1, 2013.

        55.     Tom Clancy did raot assign his rights to the character Jack Ryan to JREL or JRLP

 after 1988.

        C.      Tom Clancy's First Marriage and Divorce Settlement.

        Sb.     11~r. Clancy married Wanda King in 1969. They separated in 1996, and were

 divorced in 1999.

        57.     On December 28, 1998, Wanda King and Torre Clancy entered into an agreement

 resolving the e~ononlic issues between them in connection with their impending divorce (the

"Marital Settlement Agreement").

        58.     At the time ofthe Marital Settlement Agreement,Tom Clancy and Wanda Kind

 each owned 40% ofJItEL. The remaining 20% was owned by the Older Children.

        59.     Thy Mar~~al Settlement Agreement recites, in Exhibits A and B,the literary works .

 then owned respectively by JREL and J12.L1'.

        60.     The Hintfor Red Dctober(1984), Red Storm Rising ~1986), patriot Games

(1987), The Cardinal ofthe Kremlin (1988), Clear crud Present Danger(1989), The S'um c~fAll

Fears(1991), ~'he Torre Clancy Companion (1992), and Subrriarine(1993)are listed as JREL

 properties.

        61.     Without Remorse (1993}, Debt ofhonor(1994},,Executive Orders(i996),

 Military Reference Library (~4rrraored Cav {1994},.Fighter T~Ying(1995),.tllarine {1996), 73

Fasting(1993), Op-Center(1995), and Rainbow Six(1998} are listed as JRI,F properties.

        62.     Consistent with the USNT Set~Iement Agreement,the Marital Settlement

 Agreement acknowledged Tom Clancy's ownership ofthe Jack Ryan character, contemplated

 that Tom Clancy would continue tc~ exploit the Jack Ryan character, and provided for division of

                                                 12
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revenue that he might receive from exploiting his rights in the Jack Ryan character as part ofthe

division ofthe marital estate.

        63.      Specifically, Paragraph 15 ofthe Marital Settlement Agreement provided

(emphasis added);

                  B.... In the event that Husband or an entity affiliated with him (other
         than JRLP and JREL)signs a contract with any third party relating to the story
         line, in whole or in part(and characters xn connection therewith,from works
         owned by JRI,P or J1ZEL {other than incidental use, such as flashbacks), Husband
         shall cause the contract to be assigned to JRLP or JREL as the case may be.
         Otherwise, Husband shall befree ~o use the characters in the works owned by
        ,IRLP or JREL in any sequel to any ofthose works or in any otherfuture work
         that ~lusband rrray create without the approval ofor obligation to yYafe.

        64.      Thus,the Marital Settlement Agreement specifically contemplates that Tom

 Clancy would be signing contracts relating to the cbarac#ers in Hunt,including Jack Ryano

         b5.     The Marital Settlement Agreement, entered into 10 years after the USNI

 Settlement Agreement,confirms that the USNI assignment to JREL of its rights in and to Hunt

 did not include any rights to the characters in Hunt.

        66.      In the divorce, and in the negotiation ofthe Marital Settlement Agreement, Tom

 Clancy was represented by Lowell R. Bowen,of Mr. Webb's fum,and Wanda King was

 represented by Sheila K. Sachs, whose frm, Gordon Feinblatt, LLC("Gordon Feinblatt), is now

 counsel to JR.EL and JRLP.S

         D.      Tom ~lancy's Work Authored for Rubicon.

         b7.     Following publication of Hunt,Tom Clancy entered into employment agreements

 with JREL and JRLP pursuant to which he wrote books for hire° Thus,Tom Clancy was

"employed" by JREL pursuant to agreements dated February 4, 1992,and January 1, 1444.

 5 Gordon Feinblatt also represented the Older Children in the Bandy v. Clancy litigation, and upon
 information and belief also acts as counsel for'Wanda King, individually.
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       68.     Similarly, Tonci Clancy was"employed" by J~RLP pursuant to an agreement dated

February 26, 1992.

       64.     Tom Clancy terminated his employment agreements with both JREL and JRLP,

pursuant to which Tam Clancy had authored books for hire, as of December 31, 1997.

       74.     Thereafter, beginning in 2000, until his death in 2013,Tom Clancy authored or

co-authored eight more best-sellers:

                                             Publication              Featured
                       Book Title               Date                Ch~rac~er(s)

          1. 7'he .bear crud the Dragon         2000                  Jack Ryan

          2. Red.Rabbit                         2002                  Jack Ryan

          3.   T'he Teeth ofthe ~'iger          2003                Jack ~Zyan, Jr;
                                                                   Caruso brothers.

          4. Dead or Alive                      2010                  Jack Ryan;
                                                                    Jack Ryan,Jr.;
                                                                   Caruso brothers.

          5. Against All Enemies                2011                Max 1Vloore;
                                                                   Dominic Caruso

          6. Locked On                          2011                  hack 12yan;
                                                                    Jack Ryan, Jr.;
                                                                   Dominic Caruso

          7.   Threat Vector                    2012                 Jack Ryan,
                                                                    Jack Ryan Jr.;
                                                                   Dominic Caruso

          8. Command Authority                  2013                 Jack Ryan;
                                                                    Jack Ryan Jr.;
                                                                   Dominic Caruso

       71.     Rubicon, created by Torre Claa~cy in 1995 and wholly-awned by Tom Clancy,

received 100°10 of the net revenues from 7'he Bear and the Dragon and Red Rabbit, which


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featured his character, Jack Ryan.

       72.     Neither JREL nor JRLP received any xevenue from The Bear and the Dragon and

Red Rabbit.

       73.     The Personal Representative has acknowledged expressly that the copyrights for

the Caruso/Campus books are ov~med exclusively by Rubicon. As stated by his counsel:

               Mr. Clancy created the character Dominic Caruso in The Teeth ofthe
       Tiger (published 2003). Also introduced in that novel vvas "The Campus," a
       "black ops""off-the-books" intelligence agency for which Dominic Carsuo [sic]
       becomes an operative. As the copyright for The Teeth of'the Tiger and the
       subsequent titles folit~wing the exploits of Mr. Caruso and The Campus(Dead or
       Alive, docked Ot~, Threat hector, and Gerrrmand~4uthority} are owned by
       Rubicon, Rubicon owns the copyrights ~vith regard to Dominic Caruso and other
       copyrightable Campus characters°

       74.     Rubicon received 100% ofthe net revenues from the sale ofthese six pre-death

books, published between 2003 and 2013.

       75.     Neither 3REL nor JRLP shared in the proceeds, nor asserted any rights to share in

the proceeds,earned by any ofthese pre-death, post-divorce works.

       76.     From 2400 to 2413, Tom.Clancy was represented by Mr. Webb's law firm and by

Mr. Youdelman.

       77.     Mr. Webb is now taking a position, upon the advice of Mr. Youdelman,~ that is

entirely inconsistent with the advice that Tom Clancy received from M~. Youdelman concerning

Tom Clancy's rights to ~Ii~ characters and revenues from the post-divorce books during the I3

years prior to his death.




6 Post-mortem, Mr. Youdelman now represents JREL,JRLP,Rubicon, and the Personal Representative
ofthe Estate, in connection with intellectual property matters.

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       E.      Pos#-I~eath hook Deals for Works Featuring Jack Ryan.

       78,     I~ 2014, Mx. Webb,as Personal Representative ofthe Estate, signed an agreement

with Putnam,pursuant to which the parties —Putnam(as publisher), and the Estate, Rubicon,

JREL,and J1~LF (collectively as"Author")—agreed to the publication oftwo literary works as

"Tom Clancy" novels° One ofthese novels,Full Force and Effect,featured the Jack Ryan

character.

       79.     The Personal Representative, based upon advice from 1VIr. Youdelrnan that JREL

owned the character Jack Ryan,agreed with Sheila I~. Sachs(counsel for Wanda King and the

Older Children} to the following allocation ofrevenues from Full Force and Effect: 1/3 to JREL,

1/3 to the Estate, and 113 divided equally among JREL,JRLP, Rubicon, and the Estate.

       ~0.     At the time, I~ir. Webb claimed that this allocat~o~ was not intended "to bind any

ofthe current parties nor fixture owners ofTom's name or any ofthe business entities."

       81.     Thus, notwithstanding Tom Clancy's and, hence, the Estate's, 104%-retained

ownership ofthe Jack Ryan character,the Personal Representative treated JREL and JRLP as

owners ofthe Jack Ryan character such that they were entitled to sham in the proceeds.

       ~2.     In December 2014, Mrs. Clancy objected to Mr. ~Jebb's failure to assert the

Estate's rights in the Jack Ryan character and to the allocation of post-death book revenues.

       83.     In response, Mr.'Webb claimed that JREL was entitled to participate in the post-

death books revenues based upon the advice of Mr. Youdelman(who Viso represented JREL)

that JREL owned the Jack Ryan character by reason of USNI's 1988 assignment to JREL ofthe

Hunt copyright pursuant to the USNI Settlement Agreement.

       84.     On December 17,2014,the Orphans' Court ordered that, if Mr. Webb entered

into any contracts relating to in#eliectual property belonging to the Estate, he "shall place all

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proceeds arising from such contracts in an escrow account maintained by the law firm of Miles

~i Stockbridge, P.C." The December 17, 2014 order remains in effect.

       85.     In March 2Q15, Mr. Webb signed afour-book deal with Putnam. Tvr~o ofthe

novels in this deal were "Jack Ryan" novels: Under Fire and Commander in Chief Again, Mr.

Webb joined with counsel for Wanda Kind and the Older Children in an agreement to allocate

proceeds in the same manner ~s that agreed in the 2414two-book dial, failing to talcs into

account ax to protect the Estate's ownership cif the Jack Ryan character.

       86.     On infozmatlon and belief, Mr. Webb has signed book deals for "Tom Clancy"

books in 201 b and 2017,and has entered into allocation agreements with JREL and JRLP to

share in the proceeds in the same percentages as in 2014 and 2015,failing once again to take into

account the Estate's ownership ofthe Jack Ryan character.

       87.     Accordingly, Mr. VtTebb has failed to marshal and collect these assets, or to

account for them.

       F.    ]Post-Death Book Deals for Worlts l~e~turing The Caffipus and Campus
       Characters.

       88.     The ofiher novel in the 2014 bock deal,Support and Defend, was a Carusol

Opus book featuring the Dominic Caruso character.

       89.     Mr.`Webb agreed to the following allocation of post-death proceeds for Support

and l7efend: 1/3 to Estate, 1/3 to Rubicon,and 1I3 divided equally between the Estate, Rubicon,

JREL and 3RLP.

       90.     In other words, notwithstanding Rubicon's, and hence,the Estate's, 100%-


~ Unlike Rubicon, which was owned 100% by Tom Clancy,and is now wholly-owned by the Estate,
40% of JREL,and 50% of.TRLP,are owned by Wanda King, who is not a beneficiary ofTom Clar~cy's
estate.

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acknowledged ownership of"the copyrights with regard to Dominic Caruso and ether

copyrightable Campus characters," 1VIr. Webb treated JREL and JRLP as entitled to share in the

proceeds.

       91.       Mrs. Clancy, by her counsel, objected to the allocation ofpost-death book

revenues from Support and De,fe' nd.

       92o     The remaining two books t~ be published under the 2015 four-book deal were

identified in the 2015 Putnam contract as Jack Ryan, Jr. Novels or Campus Novels. ]Here again,

Mr, Webb joined with counsel for Wanda King and the Older Children and agreed to allocate

proceeds in the same manner as ghat agreed in the 2Q14 two-book deal, failing to take into

account or to protect ~.he Estate'sownership ofthese characters.

       93.     The post-death book contracts agreed and entered into by Mr. Webb fail to

recognize the revenue properly allocable to iZubicon based on its ownership of The Campus

characters, including Jack Ryan Jr.(the son of Jack Ryan} and Dominic Caruso.

                                            COUl`I'T I
                                       Declaratory Judgment
                                           {Jack Ryan)

       94.     Plaintiff incorporates by reference the allegations of paragraphs I through 93 of

the Complaint.

       95.     ~ view ofthe Defendants' position that JREL and JRLP awn the rights to the

Jack Ryan character, and Plaintiff's position that the Estate owns the character rights, an actual

controversy exists between Plaintiff and the Defendants regarding ownership ofthe rights.

       96.     Plaintiff furti~►er states that antagonistic claims are presented indicating the

likelihood ~f imminent and inevitable litigation.

       97.     A declaratory judgment would serve to terminate uncertainty and would terminate

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the controversy giving rise to his cause.

       98.      A declaratory judgment is necessary to resolve a question oftitle and ownership,

essential to the administration ofthe Estate,that is outside the jurisdiction ofthe ~rpharis' Court.

       99.      A declaratory judgment would afford certainty to the Estate and to parties

interested in entering into contracts with the Estate.

        100.   There exists ajusticiable controversy between Plaintiff and Defendants.

        101.    Accordingly, Plaintiff is entitled t4 a declaratory judgment under M~.CODE ANN.,

CTs. &Jug.P~zoC. §§ 3-401 through 3-415, and in particular, §§ 3-4Q6 and 3-4 8.

        102.   Inasmuch as a declaratory judgment would serve to resolve the uncertainty and

ternunate the controversy giving rise to this action, Plaintiff is further entitled to relief under MD.

Co~E A~vrt., CTs.&Jun.PRoc. § 3-409(a}.

        WHEREFaRE,Alexandra M. Clancy prays:

        A.     That this Court determine and adjudicate the rights ofthe parties under the

relevant agreements,and declare as follows:

                     (1}      Tom Clancy owned the Jack Ryan character at the
               time of his death;

                      {2}     At his death, ownership ofthe Jack Ryan character
               passed to Torn Clancy's estate;

                     (3}      As ofthe date of Mx. Clancy's death, neither JREL
               nor JR.LP had any ownership interest in the Jack Ryan character,
               and neither entity has a right to share in revenue from any post-
               deathpublished works featuring the Jack Ryan character;

                     {4)     A11 revenue from any post-death books featuring the
               Jack Ryan character, is the property ofthe Estate;

       $.      That the Court award Plaintiff costs ofthese proceedings and awayrd reasonable

attorney's fees; and

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       C.      That this Court award such other and further relief as the nature ofthis cause may

require.

                                        COUNT Ii
                                  Declaratory Judgment
            (The Campus characters including Jack Ryan, Jr, and Dominic Caruso)

        103.   Plaintiff incorporates by reference the allegations of paragraphs 1 through 93 of

the Complaint.

        104e   In view ofthe Defendants' position that JREL and JRLP are entitled to share in

revenue fxorn The Campus novels, and Plaintiff's position that the Estate, through its wholiy-

awned entity, Defendant Rubicon,owns the character rights, an actual controversy exists

between Plaintiff and the Defendants regarding ownership ofthe rights.

       105.    Plaintifffurther states that antagonistic claims are presented indicating the

likelihood ofimminent and inevitable litigation.

        106.   A declaratory judgment would serve to terminate uncertainty and would terminate

the controversy giving rise to this cause.

        107.   A declaratoryjudgment is necessary to resolve a question oftithe and ownership,

essential to the administration ofthe ]Estate, that is outside the jurisdiction ofthe Orphans9 Court.

        108.   A declaratoryjudgment would afford certainty to the Estate and to parties

interested in entering into contracts with the Estate.

        109.   there exists ajusticiable controversy between Plaintiffand Defendants.

        110.   Accordingly, Plaintiff is entitled to a declaratory judgment under MD.CODE ANN.,

CTs.& JuD.PR~C. §§ 3-401 through 3-415, and in particular, ~§ 3-406 and 3-408.
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        111.   Inasmuch as a declaratoa:y judgment would serve to resolve the uncertainty and

terminate the controversy giving rise to this action, Plaintiff is further entitled to relief under MD.

CODE ANN.,CTS.&BUD.PROC. § 3-409(a),

        WHEREFORE,Alexandra M. Clancy drays:

        A.     That this Court determine and adjudicate the rights of the parties under the

relevant agreements, and declare as follows:

                     (1)    Rubicon owned the copyrights to Jack Ryan,Jr.,
               Dominic Caruso, and other copyrightabie Campus charactears at the
               time ofTom Clancy's death;

                      (2)      As ofthe date of Mr. Clancy's death, neither JREL
               nor JRLP had any ownership interest.in Jack Ryan, J~°., Dominic
               Caruso, ~r other copyrightable Campus characters, and neither
               entity has a right to share in revenue from any post-death published
               works featuring arty of these characters;

                     (3}         All revenue from any post-death books featuring the
               Jack Ryas,  J~r., Dominic Caruso, and other capyrightable Campus
               characters, is the propeg°tty of Rubicon.

        ~.     That the Court award Plaintiffcosts ofthese proceedings and award reasonable

attorney's fees; and

        C.      That this Court award such other and further relief as the nature ofthis cause may

require.




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Dated: August 25,2017




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